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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------- x

JACOB SCHWARTZ,
                                                                            NOTICE OF MOTION FOR
                                                                            SUMMARY JUDGMENT
                                                             Plaintiff,
                                                                            19 CV 5204 (AT)
                              -against-

CITY OF NEW YORK,

                                                        Defendant.

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                 PLEASE TAKE NOTICE that, upon the Statement of Undisputed Facts

pursuant to Rule 56.1 of the Local Rules, dated September 4, 2020; the Declaration of Andrea

O’Connor in Support of Defendant’s Motion for Summary Judgment, dated September 4, 2020,

and the exhibits annexed thereto; and Defendant’s Memorandum of Law in Support of Its

Motion for Summary Judgment, dated September 4, 2020, and upon all prior pleadings and

proceedings herein, defendants will move this Court, before the Honorable Analisa Torres,

United States District Judge, Southern District of New York, at the courthouse thereof, located at

500 Pearl Street, New York, New York, on a date and time to be determined by the Court, for an

order and judgment, pursuant to Rule 56 of the Federal Rules of Civil Procedure, granting

summary judgment to defendant, dismissing the complaint in its entirety, dismissing all claims in

this action, entering judgment for the defendant, and granting defendants costs, fees, and

disbursements together with such other and further relief as the Court may deem just and proper.
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               PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s August 4,

2020 Order, plaintiff’s opposition papers must be served and filed on or before October 6, 2020,

and defendant’s reply papers must be served and filed no later than October 20, 2020.

Dated:         New York, New York
               September 4, 2020


                                            JAMES E. JOHNSON
                                            Corporation Counsel of the
                                              City of New York
                                            Attorney for Defendants
                                            100 Church Street, Room 2-104
                                            New York, New York 10007
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                                            aoconnor@law.nyc.gov

                                            By:                /s/
                                                    Andrea O’Connor
                                                    Assistant Corporation Counsel


TO:      Arthur Schwartz (By ECF)




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                     Docket No. 19 Civ. 5204 (AT)


                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

                     JACOB SCHWARTZ,


                                                                                                               Plaintiff,

                                                                 -against-

                     CITY OF NEW YORK,


                                                                                                         Defendant.


                           NOTICE OF MOTION FOR SUMMARY JUDGMENT


                                                JAMES E. JOHNSON
                                      Corporation Counsel of the City of New York
                                               Attorney for Defendant
                                           100 Church Street, Room 2-104
                                              New York, N.Y. 10007

                                       Of Counsel: Andrea O'Connor
                                       Tel: (212) 356-4015


                      Due and timely service is hereby admitted.

                      New York, N.Y. ............................................................. , 20…...

                       ......................................................................................... , Esq.

                      Attorney for ................................................................................
